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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                       CASE NO .II-IMOS8-CR-MARTINED LYNCH
   UNITED STATES OF AM ERICA,
         Plaintiff,                                           FILED hy                D.C.
   V.
                                                                 AFF -
                                                                     23 2212
   CLAYTON C.CHEN,
                                                                 SCL
                                                                  TEER
                                                                    MIK
                                                                      NuMàLARIMORE
         Defendant.                                             s.D.oFFL/i..-F
                                                                             DI
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                                                                                  c.RTc6
                                                                                      .
                                   /
                REPORT AND RECOM M ENDATIO N O N CHANGE O F PLEA

         THIS CAUSE having com e on to be heard upon the O rderofReference from the

   DistrictCourtforthis Courtto conducta proceeding foracceptance ofa guilty plea by the

   Defendantin the above referenced case and this Courthaving conducted a change ofplea

   hearing on April23,2012,this Coud recom mends to the DistrictCourtas follows:

         1.     On April23,2012,this Courtconvened a hearing to permitthe Defendantto

   entera change ofplea inthe aforementioned matter.Atthe outsetofthe hearing this Court

   advisedthe Defendantofhisrightto have these proceedingsconducted bythe Districtludge

   assigned to the case. Fudher,this Coud advised the Defendant thatthis Coud was

   conducting the change ofplea hearing on an OrderofReference from the DistrictCourtand

   atthe requestofthe Defendant,the Defendant's attorney and the AssistantUnited States

  Attorney assigned to this case. This Coud furtheradvised the Defendantthatthe District

   JudgeassignedtothiscasewouldbethesentencingjudgeandwouldmakeaIIfindingsand
   rulings concerning the Defendant's sentence and would conducta sentencing hearing ata

   time setby the DistrictCoud.
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         2.     This Court advised the Defendant that he did not have to perm it the

   undersigned United States M agistrate Judge to conductthis hearing and could requestthat

   the change of plea hearing be conducted only by a United States District Judge. The

   Defendant,the Defendant's attorney and the AssistantUnited States Attorney assigned to

   the case allagreed on the record and consented tothis Courtconductingthe change ofplea

   hearing.

         3.     This Coud conducted a plea colloquy in accordance with the outline setfodh

   in the Bench Book forDistrictJudges.

         4.     There is a written plea agreem entwhich had been entered into by the parties

   in this case.This Coud reviewed thatplea agreementon the record and had the Defendant

   acknowledge thathe signed the plea agreem ent. This Courtalso m ade cedain thatthe

   Defendantwasawareofanym inimum m andatorysentencesandm axim um sentenceswhich

   could be imposed in this case pursuantto thatplea agreementand the applicable statutes.

         5.     TheDefendantpledguiltytoCountone ofthe lndictment,whichcountcharges

  the Defendantwith conspiracy to com m itm ailfraud,in violation ofTitle 18,United States

  Code,Section 1349.The governmentagreed to m ove to dism iss CountsTen,Eleven, and

  Twelve ofthe lndictmentaftersentencing.

         6.     The governm entstated a factualbasisforthe entryofthe plea which included

  aIlofthe essentialelem ents ofthe crim e to which the Defendantis pleading guilty and any

  sentencing enhancem ents and/or aggravating factors that m ay be applicable. The

  governmentalso announced the possible m inim um and maxim um penalties in respectto

  CountOne ofthe Indictm entwhich included advising the Defendantofthe possibility of



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   depodation after sentencing.The Defendant acknowledged that he understood these

   possible m inim um and m axim um penalties which could be imposed in his case.

                   Based upon aIIofthe foregoing and the plea colloquy conducted by this

   Court,this Coud recom m ends to the DistrictCourtthatthe Defendantbe found to have

   freely and voluntarily entered his guilty plea to CountOne ofthe lndictm entand thatthe

   Defendantbe adjudicated guilty ofthatoffense.
          8.       A pre-sentence investigation is being prepared forthe DistrictCourtby the

   United StatesProbation Office and sentencing hasbeen setforM onday,August20,2012,

   at2:00 p.m .,atthe United States DistrictCoudhouse,Courtroom #40QB,101 South

   U.S.Highw ay 1,FortPierce,Florida.

          ACCO RDING LY,this Courtrecomm ends to the DistrictCourtthatthe Defendant's

   pleaofguiltybeaccepted,theDefendantbeadjudicatedguiltyoftheoffensetowhichhehas
   entered his plea ofguilty and thata sentencing hearing be conducted forfinaldisposition of

   this m atter,

          The padies shallhave foudeen (14)days from the date of this Repod and
   Recommendationwithinwhichtofileobjections,ifany,withthe HonorableJoseE.Madinez,
   the United States DistrictJudge assigned to this case.

          DONEANDSUBMITTEDthis                Y dayofApril,2012,atFodPierce,Nodhern
   Division ofthe Southern DistrictofFlorida.




                                             F        . ,C     J .
                                                 NIT o AT ùAOISTRATEJuooE

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   Copiesfurnished:
   Hon.Jose E.Madinez
   AUSA Carmen M .Lineberger
   Henry Bell,Esq.
   U.S,Probation
   U.S.Marshal




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